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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA


   JOHN SKRANDEL, individually                     Case No. 9:21-cv-80826-AMC
   and on behalf of all others similarly
   Situated,                                       CLASS ACTION

                       Plaintiff,

              v.

   COSTCO WHOLESALE
   CORPORATION,

                       Defendant.




                            AND INCORPORATED MEMORANDUM OF LAW




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                                         I.      INTRODUCTION

              The public understands that a free replacement warranty means a consumer will pay

   nothing to obtain a replacement product when the purchased product is returned within the



   theories of liability in this case, making it ideally suited for class treatment.

              Plaintiff,                                 , seeks certification of two (2) narrowly-defined

   and ascertainable classes, comprised of thousands of

                                who, like him, purchased an Interstate-branded battery bearing a

                       warranty on the main display panel

   warehouses. Like Mr. Skrandel, each member of the below-defined                      Class member

   was re                                                                                  returning their

   Interstate Battery to Costco within the designated warranty period.

   claims are not at issue at this stage, Costco admitted in its Am

   Action Complaint [ECF No. 29]                        that Plaintiff was wrongfully charged for his

   replacement battery (id. at ¶¶6, 25, 30, 32-33), and that Class members should not have paid any

   out-of-pocket cost for replacement of an Interstate Battery under the warranty (id. at 22).

              The record amply establishes that Plaintiff s claims for violations of the Florida Deceptive

   and                                                 , breach of express warranty, breach of implied

   warranty of good faith and fair dealing, and unjust enrichment will be determined on the basis of

                                       admitted misconduct. None of these claims involve individual

   issues of reliance, and the facts underlying each claim are materially-identical for all Class

   members. Questions related to lability and damages are not only common, they are identical. And,

   because Costco required each Class member to use their Costco membership card with every

   Interstate Battery transaction, the relevant data within             business systems can be used to

   precisely identify each Class member along with the exact calculation of their respective damages.

              Based on the above core, common facts, and for the reasons set forth below, Plaintiff seeks

   certification of the following classes pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3):


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               All Costco members, persons or entities that purchased an Interstate -branded

               at a Costco location in the State of Florida who: (a) returned the Interstate Battery
               to Costco within the warranty period, and (b) incurred an out-of-pocket cost to
               obtain a replacement Interstate-branded battery within the warranty period (the
                               ; and
               All Costco members, persons or entities in the United States (including its
               Territories and the District of Columbia) that purchased an Interstate-branded

               at a Costco location who: (a) returned the Interstate Battery to Costco within the
               warranty period, and (b) incurred an out-of-pocket cost to obtain a replacement
               Interstate-branded battery within the warranty period                       .
   Plaintiff further requests that the Court appoint him as Class Representative and his counsel as

   Class Counsel, and direct the parties to submit a notice plan pursuant to Fed. R. Civ. P. 23(c).

                         I.     FACTUAL BACKGROUND AND ALLEGATIONS

   A.          Costco and its Membership Program

               Costco is the second largest retailer in the world, operating                            U.S.,

   including 28 throughout the state of Florida. Class Action Complaint ¶13.1 A membership (and

   card) is required to shop, and make any purchases,                                     See Deposition of

                                                               , attached as Exhibit A, at 38:1-2; Deposition

   of Christi Kang, dated May 18, 2022                         , attached as Exhibit B, at 34:16-20. Through

                               program, each                transaction is recorded and logged in

   electronic data systems. See Deposition of Peter C. Hesketh, dated May 11, 2022 (

                 , attached as Exhibit C, at 23:10-13. This system, the           , maintains all data from

   Costco warehouses throughout the country, including every purchase, return, and replacement of

   an Interstate Battery. See Berndt. Depo. at 119:7-14; 133:21; Hesketh Depo. at 18:8-17; 23:10-13.

   B.          The Interstate Batteries

               Costco began selling Interstate-branded batteries in or around 2014. ¶20. See also

   Deposition of Robert Moyer, dated May 27, 2022                               , attached as Exhibit D, at

   25:20-23, 44:17-22. From 2014 to 2019, each Interstate Battery sold at                              s had


   1   References to          are to paragraphs of

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   a Costco-designated                      see Fitment Guidebooks attached as Composite Exhibit E)

   and                                                                 its main display, which Costco

                        WARRANTY          the                    price tag at the point of sale (¶21):




   See also Costco_000172-173 and Costco_000175, attached as Exhibit F (showing the form labels

   used by Costco for the Interstate Batteries during the relevant period).

               There

   Deposition of Chris Herbig, dated May 20, 2922 (                        , attached as Exhibit G, at

   112:11-18. The only written warranty document that existed during the relevant time was the

    Costco Limited Battery Warranty. See id. at 113:3-10; see also Exhibit E. There were no

   qualifying limitations to the Free Replacement warranty on the Interstate Battery labels. See

   Herbig Depo. at 46:25-47:5. N                                                               any terms

                                                                              ed customers to a location

   where such additional information could be found, prior to or at the point of sale. ¶22; Berndt

   Depo. at 70:17-71:15. However, for each Interstate Battery sold, Costco electronically recorded in

   its business system the Household making the purchase, sale date, applicable warranty term, and

   Costco-designated Item Number. See infra at fn. 7. Costco also recorded and maintains in its

   database specific battery information, such as the                  Group size. See id.

               Costco discontinued selling the Interstate Batteries between October and December 2019,

   when it began selling Interstate-branded batteries bearing the same words as the only written

   warranty document in circulation, supra, or

   main display panels, which



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   Batteries,                                                    or complete warranty information. ¶30; see

   Costco_000171, attached as Exhibit H; Herbig Depo. at 60:21-61:6. Costco designated new Item

   Numbers for                                                                        warranty but were then

   changed to carry                                                          ,

   Batteries were, for all other purposes, the same. See ECF No. 105 at ¶¶2-4.

   C.                              rm Conduct Relating to the Interstate Batteries



                                                                                  does not have an exchange

   process. See Berndt Depo. at 61:23-25; 127:11-14; Herbig Depo. at 42:20-43:8; Kang Depo. at

   38:3-4. Thus,

   warranty,                    Refund Manual (excerpts attached as Exhibit I) notes as a policy that Costco

   is to refund the original purchase amount and, if the customer chooses to purchase a replacement

   battery, Costco is to override any increased price differential between the newly purchased,

   replacement battery and the originally purchased Interstate Battery. See Berndt Depo. at 93:22-25;

   Herbig Depo. at 34:4-9; Kang Depo. at 19:1-8. The manual is the only document setting forth

                  policies and procedures for the return of Interstate Batteries. Kang Depo. at 30:24-31:6.

               Despite the                                                       uniform use of the Refund

                       return policy, Costco did not provide Plaintiff and the Class with a free replacement

   battery when they returned their Interstate Batteries during the applicable warranty period. ¶¶27-

   33. Instead, Costco refunded Plaintiff and Class members the purchase price of the original

   Interstate Battery and then charged them the increased difference of the replacement battery price.

   See Kang Depo. at 31:7-12. That is, Costco never provided a free replacement battery under the

    Free Replacement warranty when the price of the replacement battery in stock at the time of the

   return was more than the original Interstate Battery purchase. Costco admits its practice is wrong

   and that customers who purchased Interstate Batteries and who incurred an out-of-pocket cost for

   their replacement batteries during the warranty period were overcharged (and therefore damaged),

   by that amount. See Answer at ¶¶6, 25, 30, 32-33


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                                                                             ; id.

    for Plaintiff or consumers to pay any money out-of-pocket to replace a defective Interstate Battery

                                                                     Kang Depo. 31:7-12.

    D.

                Plaintiff and Class members have all suffered the same damage              they paid an out-of-

    pocket amount to replace their Interstate Batteries when they should have received a                     free

    replacement battery under the applicable Free Replacement warranty. As detailed in the

    February 9, 2023 Expert Report of Bo Martin, Ph.D.                                  , attached as Exhibit J,

    through written computer coding (or scripts),                                                        used to



    initially purchased Interstate Battery, (2) return of the Interstate Battery, and (3) purchase of the

    replacement Interstate Battery, so that damages can be electronically calculated in the same

    manner for each Class member by subtracting the increased difference each Class member paid

    for a replacement battery in comparison to the price paid for the original Interstate Battery.

                                                II.     ARGUMENT

                To certify a class, the plaintiff must have standing, all Rule 23(a) requirements must be

    satisfied, and one Rule 23(b) subsection must be satisfied. See Vega v. T-Mobile USA, Inc., 564

    F.3d 1256, 1265 (11th Cir. 2009). 2 The Court should only analyze the merits of the claims to the

    extent necessary to determine whether Rule 23 has been satisfied and                                 -ranging

    merits inquiries. Cox v. Cmty. Loans of Am. Inc., 625 Fed. Appx. 453, 455 (11th Cir. 2015).

    A.          The Class Certification Threshold Requirements Are Satisfied

                1.      Plaintiff Possesses Standing to Assert His Claims

                To satisfy Article III, a plaintiff must allege a redressable injury -in-fact that is traceable to

                                   See                                                                      , 226

    F.3d 1226, 1228 (11th Cir. 2000). Here, Plaintiff purchased an Interstate Battery with a Free


    2   Citations, internal quotations, and footnotes omitted and emphasis added unless noted otherwise.

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    Replacement warranty,

    returned the purchased battery within the warranty period, Costco charged him the increased

    difference in the price of the original and replacement battery. See Deposition of John Skrandel

                             , attached as Exhibit K, at 20:8-12; 66:12-17; 105:5-11. Plaintiff asserts that

                                                                                   a breach of the express

    warranty set forth by the Free Replacement warranty, a breach of the implied warranty of good

    faith and fair dealing, and that he has suffered damages as a result of this conduct. Id. at 92:4-

    95:16. Plaintiff also asserts that Costco has been unjustly enriched by its                          and

                           detriment. See ¶¶79-83. By alleging that he has been damaged as a result of

                                                               See Debernardis v. IQ Formulations, LLC,

                                                  [A]

                2.       The Classes Are Adequately Defined and Ascertainable

                Ascertainability of the members comprising a proposed class is considered before

    embarking on an analysis of the Rule 23 requirements. See Little v. T-Mobile, USA, Inc., 691 F.3d

    1302, 1304 (11th Cir. 2012). Because ascertainability is designed to aid the determination of

    whether proper notice is directed to class members, ascertainab                                    Reyes

    v. BCA Fin. Servs., No. 16-24077-CIV-GOODMAN, 2018 WL 3145807, at *11 (S.D. Fla. Jun.



                        Cherry v. Dometic Corp., 986 F.3d 1296, 1303 (11th Cir. Feb. 2, 2021).

    seeking certification need not establish its ability to identify class members in a convenient or

                                              Rensel v. Centra Tech., Inc., 2 F.4th 1359, 1361 (11th Cir.

    2021).

                     Randy Rosenberg, D.C., P.A. v. GEICO Gen. Ins. Co., No. 19-61422-CIV-CANNON,

    2021 WL 4990313, at *4 (S.D. Fla. Sept. 22, 2021).

                Here, Plaintiff easily satisfies this standard. The proposed Classesare ascertainable because

    their membership turns on objective, verifiable criteria of having: (1) purchased an Interstate

    Battery; (2) returned the same Interstate Battery during the applicable warranty period: and (3)


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    incurred an out-of-pocket cost to obtain a replacement battery. This objective, verifiable criteria is

    taken from                        transactional data, which includes Household numbers specifically

    identifying each Costco member, Item Numbers that can be used to determine each battery

    purchase, return, and subsequent purchase as well as the applicable warranty period, and battery

    Group numbers used in the battery industry to determine which batteries are compatible in certain

    vehicles. The above criterion objectively shows whether the subsequently purchased battery

                                                                     See Martin Report at ¶13.



    record the exchange of an Interstate Battery as a single record in its transactions data. 3 Id.

                         wrote computer scripts/coding that recognize electronic patterns

    own transaction records. 4 Id. at ¶15. For example, the patterns clearly indicate when a return and

    replacement caused damage to the Class member. Id. at ¶13.                              al data spans the

    time period when the warranty was offered        i.e., September 1, 2014 to December 31, 2019.5 Id.

    at ¶18. This data also covers all warehouses in the U.S. where Interstate batteries were sold. Id.

                To identify those Households that returned an original battery for replacement under

                                                                                transactional data, which

    shows each return, refund, and a later purchase. See id. at ¶22-23.6 He first reviewed the Refund

    and Void fields to identify Class members who have a refund or void of the original purchase



    3   Per

                                                            -25.
    4The script can be amended if there are changes to the Class definitions, if Costco discovers or
    produces more transactions that pertain to this matter, or to the extent a court ruling modifies
                                                                                  Id. at ¶¶27, 28.
    5 Since the longest warranties were 36 or 42 months, depending on which warehouse the purchase
    occurred, Household damages may still be occurring, so the Classes are not yet closed.
    6 See excerpt of spreadsheet produced by Costco, Costco_000181, attached hereto as Exhibit L.
    Due to the voluminous nature of the spreadsheets, which comprise over 1 million rows and
    hundreds of thousands of pages, the parties agree that submission of the spreadsheets is not
    necessary at this time, and Costco has further agreed to not object to Pla    submission of such
    spreadsheets on reply, to the extent deemed necessary or otherwise ordered by the Court.

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    associated with their Household. Id. at ¶22. He then reviewed the purchase transactions data

    associated with those Households to determine whether there was a subsequent transaction record

    for the purchase of a replacement battery. Id. at ¶23.

                                                      the Item Number Costco recorded for the original

    battery purchased is the same Item Number recorded in the field showing a Refund or Void. Id. at

    ¶¶20-23. His analysis and coding also tracks that a warranted replacement battery would only have

    had a different Item Number than that of the original battery purchased if the Item Number was



                                                                             the originally purchased battery

    and replacement battery purchased had the same Group number, as used by Costco in its Fitment

    Guidebooks and databases to assist its customers in comparing Interstate batteries and batteries

    within the industry. See id. at ¶26                                                 that any replacement

    purchase occurs within the warranty period for the original purchase. Id. at ¶24.

                As described in                       report, the basic pattern in the transactions for a

    Household that qualifies as a Class member is the following: (1) a record for a H

    battery purchase; (2) a record for the Household          return of the original battery, recorded as a



    purchase of a replacement battery at a greater price than the original purchase price and within the

    warranty period. Id. at ¶30.                                        337,757 Class members and Class

    damages in the amount of $2,423,643.79. Id. at ¶34. Moreover, because every Class member

    purchased an Interstate Battery and was not provided with a free replacement battery when the

    Interstate Battery was returned during the warranty period, the Classes are not overbroad. See

                                   nc., 218 F.R.D. 262, 269 (S.D. Fla. 2003).

                Costco also cannot claim the Classes are fail-safe       -



                        McCullough v. City of Montgomery, No. 2:15-cv-463-RCL, 2021 WL 20449900, at

    *11 (M.D. Ala. May 21, 2021). That is not what the proposed Class definitions do here. While the


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    replacement battery transaction, they do not turn on whether Costco requiring such payment is a

                                                                           See Paris v. Progressive Am. Ins.

    Co., No. 19-21761, 2020 WL 7039018, at *5 (S.D. Fla. Nov. 12, 20 20). Regardless of whether

    Plaintiff prevails on his claims, Class members who meet the Class definition will be bound by a

    final judgment. Id. The class definition, thus                                                     .

    B.          The Proposed Classes Satisfy the Rule 23(a) Requirements



                        United Wis. Servs. v. Abbott Labs. (In re Terazosin Hydrochloride Antitrust Litig.),

    220 F.R.D. 672, 684 (S.D. Fla. 2004). These requirements are satisfied, as demonstrated below.

                1.        The Classes Are Sufficiently Numerous



                                             Manno v. Healthcare Revenue Recovery Grp., LLC, 289 F.R.D.

    674, 684 (S.D. Fla. 2013).

    imposes a generally low hurdle, and a plaintiff need not show the precise number of members in

    the class. Id. In the Eleven                                               -one is inadequate, more than

                             Cheny v. Cyberguard Corp., 213 F.R.D. 484, 490 (S.D. Fla. 2003). Here,

                                there are 337,757 Class members. Martin Report at ¶34. Numerosity is met.

                2.        There Are Questions of Law and Fact Common to the Classes



                                                                Williams v. Mohawk Indus., Inc., 568 F.3d

                                                                                                        Fed.

    R. Civ. P. 23(a)(2). Id.

    factual differences concerning treatment or damages w                                                  In

    re Checking Account Overdraft Litig.

    does not require that all the questions of law and fact raised by the dispute be common or that the

    common quest                                                                 Vega, 564 F.3d at 1268.


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                Here, Costco uniformly sold the subject Interstate Batteries to Plaintiff and Class members

    with                  Free Replacement stated as the warranty and with the applicable warranty period

    all printed on the label. See section II.B, supra. Thus, this litigation centers on

    provide Plaintiff and Class members with a free replacement battery pursuant to the Free

    Replacement warranty when they returned their Interstate Batteries during the warranty period .

                                                                     assessment, collection, and retention

    of additional charges to Plaintiff and Class members when they sought their free replacements of

    Interstate Batteries constitutes a deceptive and unfair trade practice, breach of express warranty,

    breach of implied warranty, and unjust enrichment are common questions of law, for which

    interpretation of the uniform Free Replacement Warranty language will provide a common answer

    for the entire Class. See Allapattah v. Exxon Corp., 333 F.3d 1248, 1261 (11th Cir. 2003)

    (commonality established where the court interpreted materially similar contracts); Sacred Heart

    Health Sys. v. Humana Mil. Healthcare Servs.

    form contract, executed under like conditions by all class members, that best facilitates class

                        Mills v. Foremost Ins. Co., 269 F.R.D. 663, 671 (M.D. Fla. 2010) (commonality

                              [contract]                                                                   .



                           Williams, 568 F.3d at 1355. Accordingly, commonality is met.

                3.

                To demonstrate Fed. R. Civ. P. 23(a)(3) typicality

    sufficient nexus exists between the legal claims of the named class representatives and those of

                                                                     A&M Gerber Chiropractic LLC v.

    GEICO Gen. Ins. Co.

    representative is typical if the claims or defenses of the class and the class representative arise from

    the same event or pattern or practice and are based on the same legal theory. Id. Typicality is

                                                                   -extensive with those of absent class

                                                             In re Checking Account Overdraft Litig., 281


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                                                           f the same unlawful conduct was directed at or

    affected both the class representatives and the class itself, the typicality requirement is usually met

                                                                                       Id.

                Here,                    s are uniform. Costco sold Interstate Batteries containing a Free

    Replacement Warranty to all putative Class members; when putative Class members returned their

    Interstate Batteries to Costco, Costco did not give them a free replacement battery, but rather,

    refunded or voided the transaction of the original purchase price; and then Costco sold putative

    Class Members a replacement battery at a higher price than the original Interstate Battery , despite

    the fact that the replacement purchase occurred during the applicable warranty period.

                                                              also based on the same legal theories        that



     Free Replacement warranty is an unfair and deceptive trade practice, breach of an express

    warranty, breach of the implied warranty of good faith and fair dealing, and an unjust enrichment.

    See County of Monroe v. Priceline.com, Inc., 265 F.R.D. 659, 668 (S.D. Fla. 2010) (typicality met

                                                                                                      d subject

    to class-

    meritorious or not. See Williams, 568 F.3d at 1356-57.

                There is no record evidence of unique claims or defenses precluding a typicality finding.

    Pla

    Singer v. AT&T Corp.

    the plaintiff and the class have an interest in prevailing on                            Id. The typicality



                                    Id. Plaintiff is typical because his claims a

                             In re Checking Account Overdraft Litig., 307 F.R.D. at 642.

                4.      Plaintiff and Counsel Are Adequate Class Representatives

                Finally, Fed. R. Civ. P. 23(a) requires that the representative parties have and will continue




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    for the class is qualified and competent to vigorously prosecute the action, and (ii) the interests of

    the proposed class representatives are not antagonistic to the interests of the class. See, e.g., Fresco

    v. Auto Data Direct, Inc., No. 03-61063-CIV, 2007 WL 2330895, at *2 (S.D. Fla. May 14, 2007).

                Here, Plaintiff is knowledgeable about the nature of this case and is ready and able to serve

    as a class representative in this action. See, e.g., Skrandel Depo. at 92:4-95:16; 109:6-9; 110:25-

    111:12; 111:18-19. Plaintiff, himself an attorney, is seeking to serve as a class representative on

    behalf of a National Class and a Florida Class of persons or entities who purchased Interstate

    Batteries at Costco and were not provided with a free replacement battery when they were returned

    to Costco during the applicable warranty period. Id. at 10:12-13, 107:21-108:1. Plaintiff

    understands that he, as the class representative, will have the duty to represent the interests of all

    unnamed class members. Id.; see also id. at 109:18-20. Plaintiff has dedicated a significant amount

    of time to this matter, including working with his counsel, providing answers to interrogatories

                                                                                                  , and being

    deposed. See id., at 48:1-17; 49:2-13; 111:20-25; 177:16-19; 119:6-8; 119:16-19; 120:10-121:13.

    Plaintiff has also remained informed as to the status of the case. Id. at 112:13-113:16. In addition

    to having testified at his deposition, Plaintiff is willing to make himself available to testify at a

    trial and to consider a potential settlement with Costco on behalf of the Classes. Id. at 112:2-12.

    Plaintiff also attended the December 12, 2022 hearing before the Court.

                The interests of Plaintiff and the members of the Class are fully aligned in seeking all



    free replacement battery when they returned their Interstate Batteries during the applicable

    warranty period. Plaintiff has demonstrated his adequacy by producing discovery responses,

    becoming knowledgeable about the nature of the litigation, keeping informed about the status of

    the case, and declaring his willingness to testify at trial. See Nadreau v. Lush Cosmetics NY, LLC,

    No. 2:10-CV-298-FtM-99SPC, 2012 WL 3852231, at *5 (M.D. Fla. Aug. 13, 2012), report and

    recommendation adopted, 2012 WL 3853443 (M.D. Fla. Sept. 5, 2012).

                Plaintiff is committed to protecting the interests of the Classes, as seen by his prosecution


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    of the claims through the counsel he retained and engagement in the discovery process. See Prindle

    v. Carrington Mortg. Servs., LLC, No. 3:13-cv-1349-J-34PDB, 2016 WL 4466838, at *5-6 (M.D.

    Fla. Aug. 24, 2016). There is no suggestion that any conflict of interests exists, and there is no

    threat that action in this litigation could benefit some class members while harming others. See

    Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1189 (11th Cir. 2003) (a conflict




                Plaintiff also satisfies the second prong of the adequacy requirement by retaining counsel

    with significant experience in prosecuting consumer class actions. See Firm Resumes of

    Kopelowitz Ostrow Ferguson Weiselberg Gilbert and Gordon & Partners, P.A., attached as

    Composite Exhibit M. Thus, the adequacy requirement is met.

    C.          Class Treatment Is Appropriate Pursuant to Rule 23(b)

                Plaintiff seeks certification pursuant to Rule 23(b)(3), which permits class treatment where

                                                                                                  questions

    affecting only individual members, and . . . [class treatment] is superior to other available methods



                1.       Common Issues Predominate Over Any Individual Issues

                        n common questions present a significant aspect of the case and they can be resolved

    for all members of the class in a single adjudication, there is clear justification for handling the

                                                                           In re Checking Overdraft Litig.,



    predominate over questions affecting only individual members . . . requires a showing that the

    issues in the class action that are subject to generalized proof . . . predominate over those issues

                                                         Bowe v. Pub. Storage, 318 F.R.D. 160, 176 (S.D.

    Fla. 2015). An absence of individual issues is not necessary. See, e.g., Carriuolo v. GM Co., 823

    F.3d 977, 988 (11th Cir. 2016); Klay v. Humana, Inc., 382 F.3d 1241, 1254 (11th Cir. 2004).

                Plaintiff satisfies his burden to show that common issues predominate because the core


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                                                                                       Free Replacement

    warranty and then charge members to obtain replacement batteries when their Interstate Batteries

    were returned during the warranty period. Any analysis of this scheme will depend on evidence

    relating to the standardized Free Replacement warranty affecting all Class members in a uniform

                                                                                              .. .

    parti

    In re Checking Account Overdraft Litig., 307 F.R.D. 656, 673 (S.D. Fla. 2015). 7

                        a.    FDUTPA

                The elements of a claim under FDUTPA are: (1) a deceptive act or unfair practice; (2)

    causation; and (3) actual damages. See Carriuolo, 823 F.3d at 983. Critically

    a deceptive trade practice claim need not show actual reliance on the representation or omission at

    issue. Hence, the impediment to class litigation that exists for multiple intrinsic fraud claims does

                                     Davis v. Powertel, Inc., 776 So.2d 971, 973 (Fla. 1st DCA 2000).

                                                                              Carriulo, 823 F.3d at 985.

    I

                                          Bowe v. Public Storage, 318 F.R.D. 160, 183 (S.D. Fla. 2015);

    Fitzpatrick v. Gen. Mills, Inc., 635 F.3d 1279, 1282-83 (11th Cir. 2011)). Thus, the inquiry here is



                                                      Carriulo, 823 F.3d at 984, which does not require

                                                                   Id.

    can be resolved on a classwide basis because the same alleged misrepresentation was made in the

    same manner to every Class member         each Interstate Battery had a printed label representing that


    7 Although Costco has not set forth evidence to support its affirmative defenses, they nonetheless
    do not defeat certification because they raise common question of proof that predominate over
    individualized issues. See, e.g., id. at 650-651 (statute of limitations, failure to mitigate). Even if
    Costco had evidence to support its defenses of consent or authorization, the presence of
    individualized defenses against a small number of class members would not destroy the
    predominance of common liability questions. Id.
           defenses turn on            conduct and, therefore, both are common to all Class members.

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    the battery purchase came with a Free R                      warranty. Id.

                Because each member of the Florida Class purchased an Interstate Battery, returned the

    Interstate Battery during the warranty period, and incurred out-of-pocket costs to obtain a

    replacement battery during the warranty period             t does not matter that there may have been

                                                                         Powertel, 776 So.2d at 973 986.

     Moreover, because the injury is not det

    inaccuracy, causation and damages may also be amenable to class-                             Id. Indeed,



    or service in the condition in which it was delivered and its market value in the condition in which

                                                                                     Id. Here, there is no

    evidence to suggest that the class-wide adjudication of any FDUTPA liability will be subsumed in

                                                                        Carriuolo, 823 F.3d at 989.

                        b.       Breach of Express Warranty

                Costco breached its express warranty on a class-wide basis by requiring payment from

    members for their replacement batteries and, thus, common issues of law and fact predominate.

                Here, a singular,

    warranty claim           i.e., for each Interstate Battery purchase, as detailed above, Costco promised

    Plaintiff and the Florida Class members a free replacement battery if they had to return the

    originally purchased Interstate Battery during the warranty period. As discussed in section II.B,

    supra



                                                                                 tion Fla. Stat. § 672.313(a)

    and (b), and whether Costco breached this express warranty by failing to replace the Interstate

    Batteries at no cost within the warranty period are common issues that can be decided at one time.

                Further, to the extent that Costco maintains that reliance is a required element in a claim

    for breach of warranty, it is not. See Rosen v. J.M. Auto Inc., 270 F.R.D. 675, 681 (S.D. Fla. 2009)

                                                                                         .


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                          c.      Breach of Implied Warranty



    predominance inquiry. The only real issue for determination is whether Costco breached the

    implied warranty of good faith and fair dealing accompanying the sale of its Interstate Batteries

    when it offered a Free Replacement warranty to its members, but then charged them to obtain

    replacement batteries when they returned their Interstate Batteries during the warranty period. This

    is clearly a common issue that should be decided on a class-wide basis.

                                                                                        are irrelevant for this

    analysis.                                                                                  m the perspective

                                                                                                 In re Checking

    Account Overdraft Litig., 307 F.R.D. at 675-676. Here, common issues predominate as to whether

    Costco violated customer expectations. See Gibbs Properties Corp. v. CIGNA Corp., 196 F.R.D.



                                                                     -              Sacred Heart Health Sys.,

    Inc. v. Humana Military Healthcare Servs., Inc.

    form contract, executed under like conditions by all class members, that best facilitates class

                        . Accordingly, the predominance inquiry is satisfied for this claim.

                          d.      Unjust Enrichment

                Every state provides for equitable relief where one obtains an undeserved benefit at the

    expense of another,regardless of whether the cause of action is termed quantum meruit, restitution,

    or unjust enrichment. See Appendix: The Unjust Enrichment Cause of Action by State, 54 S. Tex.

    Law Rev. 265 (2012). Because the elements of unjust enrichment are similar from state to state,

    this Court has held that certification of multistate and nationwide classes is appropriate. See,

    e.g., In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 697 & n.40 (S.D. Fla. 2004)

    (



    certification          Singer, 185 F.R.D. at 692 (finding


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                            ; In re Checking Account Overdraft Litig., MDL No. 2036, 2015 WL 3551527

    (S.D. Fla. June 8, 2015) ( There is general agreement among courts that the minor variations in

    the elements of unjust enrichment under the laws of the various states . . . are not material and do

                                        Id. at *16.8

                                            claims, unjust enrichment will rise and fall on the common



                                                                             -of-pocket cost to obtain their

                replacement batteries    and the resulting unjust retention of the proceeds of its conduct,

                                                       bona fide error. Answer at 22. First, because Class

    members transacted directly with Costco, there is no dispute that they conferred a benefit upon

    Costco when they paid an out-of-pocket cost to obtain their          ree replacement battery. Second,

    for the same reason, there is no dispute that Costco retained the benefits conferred from the sale of

    the replacement batteries to Class members.                 continued retention of these benefits, which

                                               is plainly common to the National Class. Third, whether

                   retention of any benefits is inequitable or unjust is common to all Class members.

                Given those proceeds were obtained from sales that follow a uniform conduct common to



                           James D. Hinson Elec. Constr. Co. v. BellSouth Telecomms., Inc., 275 F.R.D.

    638, 647 (M.D. Fla. 2011). This is because the unjust enrichment claim , here, focuses on the

    conduct of Costco, and

                Muzuco v. Re$ubmitit, LLC, 297 F.R.D. 504, 521 (S.D. Fla. 2013). See also In re Checking

    Account Overdraft Litig.

    certified for class treatment where there are common circumstances bearing on whether the


    8Where the Eleventh Circuit has found a claim to be inappropriate for class-wide resolution, its
                        [was] that unjust enrichment claims typically require individualized inquiries
                                                                               Cnty. of Monroe, Fla.,
    265 F.R.D. at 671. Here, no significant equitable differences between the Class members exist
    all the evidence                                                          Class members.

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                                                                                              Here, as in the

    above cases             -wide proof is available to show that [Costco] deliberately concealed from all

    customers important information about [Interstate Batteries] . . . factors which bear on the justness

    of [                                                                         Id.9

                2.      Class-Wide Damages Can Be Calculated



    the same transactional data identified through the return and replacement pattern discussed above.

    See section III.A.2, supra; Martin Report at ¶13. Given this automated method of precisely

    identifying a Class member and calculating their exact damages, the same method can be used to

    identify all Class members and to calculate their individual damages from the transaction records.

    Id. at ¶14. See Klay, 382 F.3d at 1259-

    formula, statistical analysis, or other easy or essentially mechanical methods, the fact that damages

                                                                                                 . That each

    member of the Classes may have suffered different amounts of damages does not alter this analysis.

    See Brown

    damage calculations generally do not defeat a finding                                             .

                After adjudicating class-wide issues, only the ministerial, electronic calculation of damages

                                        and data will remain; there will be no need for individualized proof

                                   of the elements of the claims. See Klay, 382 F.3d at 1255. Aggregate

    damages for all Class members, along with pre-judgment interest calculations, will be proven on

    summary judgment or at trial, and individual damages can be electronically calculated and

    confirmed in a supervised post-judgment process. Id. at 1273 (district courts may appoint

    9 While there are minor differences between the laws of the fifty states (see Appendix 1 attached
    hereto), unjust enrichment claims can be grouped into categories of states and managed
    appropriately for class certification. See In re Warfarin Sodium Antitrust Litig., 391 F.3d at 529.
    Determining that the laws of thirty-seven states were substantially the same, the court in Overka v.
    American Airlines, Inc., 265 F.R.D. 14 (D. Mass. 2010), granted certification and developed a
    procedure to address the slight state differences whereby the court would put before the jury a core
    claim composed of the elements common to all jurisdictions and then ask the jury special questions
    to address any additional elements. Id. at 20-21. That same procedure can be utilized here.

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                                                                          see also Martin Report at ¶14.

                3.      Class Treatment Is a Superior Method of Adjudication

                Fed. R. Civ. P. 23(b)(3) also requires that class treatment be superior to alternative methods



    forms of                                                                   Sacred Heart Health Systems,

    Inc., 601 F.3d at 1183-84. Generally, where common issues predominate, class treatment is

                                                                                      ues, the more desirable

                                                                                             Id. at 1184.



    consider the following: (A) the interest of members of the class in individually controlling the

    prosecution or defense of separate actions; (B) the extent and nature of the litigation concerning

    the controversy already commenced by or against members of the class; (C) the desirability or

    undesirability of concentrating the litigation of claims in the particular forum; and (D) the

                                                                                     Jones v. Jeld-Wen, Inc.,

    250 F.R.D. 685, 695 (S.D. Fla. 2008). Each factor demonstrates the superiority of class treatment.

                        a.     Class Member Interests Are Supported by Class Treatment

                Each Class member             pales in comparison to the cost of litigating the claims against

    Costco, the               second largest retailer. This Court has made clear that where the potential

    recovery is relatively small, the inevitable conclusion is that class members cannot have an interest

    in individual prosecution of a claim for which the recovery would not justify such prosecution. See

    In re Checking Account Overdraft Litig., 307 F.R.D. at 678; see also Carriuolo, 823 F.3d at 989

    (S.D. Fla. 2016); Leszczynski v. Allianz Ins., 176 F.R.D. 659, 676 (S.D. Fla. 1997).

                        b.     No Other Litigation Precludes Class Treatment

                There are no other actions in which a plaintiff alleges that Costco wrongly failed to provide

    a free replacement battery when an Interstage Battery was returned during the applicable warranty

    period. Thus, this factor favors class certification. Klay, 382 F.3d at 1269 (that other class members

    had not filed similar individual litigation meant second factor favored finding of superiority).


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                          c.      It Is Desirable to Concentrate Litigation in This Forum

                The Southern District of Florida is well equipped to handle class actions. Additionally,



                                         Klay, 382 F.3d at 1280; see also, e.g., Upshaw v. Ga. Catalog Sales,

    Inc.

    claimants to pursue their claims separately, class action treatment is far superior to having the same

    claims litigated repeatedl

    generalized proof and common issues of liability and damages, it makes little sense to require

    individual class members to litigate the same issue over and over again, even if they were inclined

    to do so for the low amount at issue. See Kennedy v. Tallant, 710 F.2d 711, 718 (11th Cir. 1983).

                          d.      Class Treatment Is Manageable

                The

    any manageability                                                                           Rensel, 2 F.4th



                                                                                    Scoma Chiropractic, P.A.

    v. Dental Equities, LLC, No. 2:16-CV-41-JLB-MRM, 2021 WL 6105590, at *10 (M.D. Fla. Dec.

                        Administrative feasibility alone will rarely, if ever, be dispositive, Cherry, 986 F.3d

    at 1305, particularly where, as here, any issues arise from                        poor record keeping.

                The crux of liability is determined by interpretation of the uniform Free Replacement

    warranty on the Interstate Battery labels, and damages will be determined by simple formulas. The

    case is ideal for class treatment. See, e.g., Cty. of Monroe, Fla., 265 F.R.D. at

    number of issues subject to class-wide proof, there will be no unique difficulties in managing this

    cas                                                                                W

                                                                        , see Cherry, 986 F.3d at 1303-04, the

    Classes are both administratively feasible and ascertainable. See section III.A.2, supra.

                                                III.    CONCLUSION

                For the foregoing reasons, Plaintiff respectfully requests that this Court grant his motion.


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               Dated: February 20, 2023.    KOPELOWITZ OSTROW FERGUSON
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                                                Classes




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                                        CERTIFICATE OF SERVICE

                The undersigned certifies that on the 20th day of February, 2023, the foregoing was filed



    parties.


                                                            By: /s/ Jason H. Alperstein
                                                                 Jason H. Alperstein




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                                     Appendix 1 State Law of Unjust Enrichment*

    State                   Defendant           Benefit Provided     Absence of           Inequitable for        Wrongful
                            Received Benefit    by Plaintiff         Alternative          Defendant to           Conduct by
                                                                     Remedy               Retain Benefit         Defendant
    Alabama1                       Yes                 Yes                  No                   Yes                   No
    Alaska2                        Yes                 Yes                  No                   Yes                   No
    Arizona3                       Yes                 Yes                  Yes                  Yes                   No
    Arkansas4                      Yes                 Yes                  Yes                  Yes                   No
    California5                    Yes                 Yes                  No                   Yes                   No
    Colorado6                      Yes                 Yes                  Yes                  Yes                   No
    Connecticut7                   Yes                 Yes                  No                   Yes                   No
    Delaware8                      Yes                 Yes                  Yes                  Yes                   No
    District of Columbia9          Yes                 Yes                  No                   Yes                   No
    Florida10                      Yes                 Yes                  No                   Yes                   No
    Georgia11                      Yes                 Yes                  No                   Yes                   No
    Hawaii12                       Yes                 Yes                  Yes                  Yes                   No
    Idaho13                        Yes                 Yes                  No                   Yes                   No
    Illinois14                     Yes                 Yes                  No                   Yes                   Yes
    Indiana15                      Yes                 Yes                  No                   Yes                   Yes
    Iowa16                         Yes                 Yes                  No                   Yes                   No
    Kansas17                       Yes                 Yes                  No                   Yes                   No
    Kentucky18                     Yes                 Yes                  No                   Yes                   No
    Louisiana19                    Yes                 Yes                  Yes                  Yes                   No
    Maryland20                     Yes                 Yes                  No                   Yes                   No
    Massachusetts21                Yes                 Yes                  No                   Yes                   No
    Michigan22                     Yes                 Yes                  No                   Yes                   No
    Minnesota23                    Yes                 Yes                  No                   Yes                   No
    Mississippi24                  Yes                 Yes                  No                   Yes                   No
    Missouri25                     Yes                 Yes                  No                   Yes                   No
    Montana26                      Yes                 Yes                  No                   Yes                   Yes
    Nebraska27                     Yes                 Yes                  No                   Yes                   No
    Nevada28                       Yes                 Yes                  No                   Yes                   No
    New Hampshire29                Yes                 Yes                  No                   Yes                   No
*
  Costco does not operate warehouse in the states of Maine, Rhode Island, West Virginia, or Wyoming, and, therefore, those states are
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not included in this Appendix.
    State                    Defendant            Benefit Provided      Absence of            Inequitable for        Wrongful
                             Received Benefit     by Plaintiff          Alternative           Defendant to           Conduct by
                                                                        Remedy                Retain Benefit         Defendant
    New Jersey30                      Yes                Yes                   No                    Yes                   No
    New Mexico31                      Yes                Yes                   No                    Yes                   No
    New York32                        Yes                Yes                   No                    Yes                   No
    North Carolina33                  Yes                Yes                   No                    Yes                   No
    North Dakota34                    Yes                Yes                   Yes                   Yes                   No
    Ohio35                            Yes                Yes                   No                    Yes                   No
    Oklahoma36                        Yes                Yes                   No                    Yes                   No
    Oregon37                          Yes                Yes                   No                    Yes                   No
    Pennsylvania38                    Yes                Yes                   No                    Yes                   No
    South Carolina39                  Yes                Yes                   No                    Yes                   No
    South Dakota40                    Yes                Yes                   No                    Yes                   No
    Tennessee41                       Yes                Yes                   No                    Yes                   No
    Texas42                           Yes                Yes                   No                    Yes                   No
    Utah43                            Yes                Yes                   No                    Yes                   No
    Vermont44                         Yes                Yes                   No                    Yes                   No
    Virginia45                        Yes                Yes                   No                    Yes                   No
    Washington46                      Yes                Yes                   No                    Yes                   No
    Wisconsin47                       Yes                Yes                   No                    Yes                   No
________________________
1
   American Family Care, Inc. v. Fox, 642 So.2d 486, 488 (Ala. 1994) (To prevail on a claim of unjust enrichment under Alabama law,
a plaintiff must show that: (1) the defendant knowingly accepted and retained a benefit, (2) provided by another, (3) who has a reasonable
expectation of compensation.).
2
   Sparks v. Gustafson
plaintiff and it would be inequitab                                                                                   .
3
   Community Guardian Bank v. Hamlin,
of unjust enrichment: (1) an enrichment; (2) an impoverishment; (3) a connection between the enrichment and the impoverishment; (4)
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                                                                    2
4
   Hatchell v. Wren, 363 Ark. 107, 117 (Ark. 2005) (To find unjust enrichment, a party must have received something of value, to which
he or she is not entitled and which he or she must restore.).
5
   Federal Deposit Ins. Corp. v. Dintino, 167 Cal. App. 4th 333, 3546-47                                individual may be required to make
restitution if he is unjustly enriched at the expense of another. A person is enriched if he receives a benefit at another's expense... Even
when a person has received a benefit from another, he is required to make restit
                                                                              .
6
   Martinez v. Colorado Dep t of Human Services, 97 P.3d 152, 159 (Colo. App. 2003) (Unjust enrichment is a judicially created remedy
designed to avoid benefit to one to the unfair detriment of another. Unjust enrichment occurs when (1) at the plaintiff's expense, (2) the
defendant received a benefit (3) under circumstances that would make it unjust for the defendant to retain the benefit without paying.);
Backus v. Apishapa Land and Cattle Co., 44 Colo.App. 59, 61-62, 615 P.2d 42, 44 (Colo.
based on the unjust enrichment of a defendant when the plaintiff has no alternat
7
   James P. Purcell Associates, Inc. v. Hennessey, 105 Conn. App. 1 (Conn. App. 2007) (Plaintiffs seeking recovery for unjust
enrichment must prove (1) that the defendants were benefited, (2) that the defendants unjustly did not pay the plaintiffs for the benefits,
and (3) that the failure of payment was to the plaintiffs detriment.).
8
  Total Care Physicians, P.A. v. O Hara                                                                                   retention of a
benefit to the loss of another, or the retention of money or property of another against the fundamental principles of justice or equity
                                                                                                             (3) a relation between the

9
   Fort Lincoln Civic Ass'n, Inc. v. Fort Lincoln New Town Corp., 944 A.2d 1055, 1076 (D.C. 2008) (Unjust enrichment occurs when:
(1) the plaintiff conferred a benefit on the defendant; (2) the defendant retains the benefit; and (3) under the circumstances, the
defendant's retention of the benefit is unjust.).
10
   Timberland Consolidated Partnership v. Andrews Land &and Timber, Inc., 818 So.2d 609, 611 (Fla. 5th DCA
a claim of unjust enrichment under Florida law a plaintiff must show that: 1) the plaintiff conferred a benefit on the defendant, who has
knowledge of the benefit; 2) the defendant accepts and retains the conferred benefit; and 3) under the circumstances it would be

11
   Harris Ins. Agency, Inc. v. Tarene Farms, LLC, 293 Ga.                                        njust enrichment is an equitable concept
and applies when as a matter of fact there is no legal contract, but when the party sought to be charged has been conferred a benefit by
the party contending an unjust enrichment which the benefited party equitably ought to return or compensate for.
                                                                                                                                               Case 9:21-cv-80826-AMC Document 117 Entered on FLSD Docket 02/20/2023 Page 30 of 34




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12
   Porter v. Hu                                              A person who has been unjustly enriched at the expense of another is required
to make restitution to the other. . . . Equity has always acted only when legal remedies were inadequate.
13
   Teton Peaks Inv. Co., LLC v. Ohme, No. 34642, 2008 WL 4595245 at * 3 (Idaho 2008) (Elements of unjust enrichment are that (1) a
benefit is conferred on the defendant by the plaintiff, (2) the defendant appreciates the benefit, and (3) it would be inequitable for the
defendant to accept the benefit without payment of the value of the benefit.).
14
  Fortech L.L.C. v. R.W. Dunteman Co., Inc.
unjust enrichment if the defendant unjustly retained a benefit to plaintiff's detriment, and defendant's retention of the benefit violates the
                                                                     ; Mulligan v. QVC, Inc., 382 Ill. App.3d 620, 631 (Ill. App. 2008)
                                           .
15
  Wenning v. Calhoun, 827 N.E.2d 627, 630 (Ind. App. 2005) (To recover under a quasi-contract theory, the plaintiff must show, (1) a
benefit was rendered to the party sought to be charged, (2) at that party s implied request, and (3) under circumstances in which equity
should demand that the person receiving the benefit should compensate the other in order to prevent unjust enrichment.).
16
   State, Dept. of Human Services ex rel. Palmer v. Unisys Corp., 637 N.W.2d 142, 154 (Iowa 2001) (The elements of recovery based
on unjust enrichment are as follows: (1) defendant was enriched by the receipt of a benefit; (2) the enrichment was at the expense of the
plaintiff; and (3) it is unjust to allow the defendant to retain the benefit under the circumstances.).
17
  In re Estate of Sauder, 156 P.3d 1204, 1221 (Kan. 2007) (The theory of unjust enrichment rests upon three elements: (1) a benefit
conferred; (2) an appreciation or knowledge of the benefit by the one receiving the benefit; and (3) the acceptance or retention of the
benefit under such circumstances as to make it inequitable to retain the benefit without payment of its value.).
18
   Bogan v. Finn, 298 S.W.2d 311, 313-14 (Ky. 1957) (On a claim of unjust enrichment, claimant must not only show that the other
party has received benefit but that it has been at claimant's expense).
19
   Estate of Walker v. Peters, 989 So.2d 241, 246 (La. App. 2008) (There are five prerequisites for an action for unjust enrichment: (1)
there must be an enrichment, (2) there must be an impoverishment, (3) there must be a causal relationship between the enrichment and
the impoverishment, (4) there must be an absence of justification or cause for the enrichment or impoverishment, and (5) there must be
no other remedy at law.).
20
   Jackson v. 2109 Brandywine, LLC
(1) the plaintiff confers a benefit upon the defendant; (2) the defendant knows or appreciates the benefit; and (3) the defendant's
acceptance or retention of the benefit under the circumstances is such that it would be inequitable to allow the defendant to retain the
benefit without the paying of value in return. .
                                                                                                                                                 Case 9:21-cv-80826-AMC Document 117 Entered on FLSD Docket 02/20/2023 Page 31 of 34




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21
   Sutton v. Valois
generally, that the party would hold property under such circumstances that in equity and good conscience he ought not retain it. A
cause of action established when defendant received a property interest that in equity and good conscience belongs to plaintiff.).
22
   Morris Pumps v. Centerline Piping, Inc., 729 N.W.2d 898, 904 (Mich. App., 006) (In order to sustain a claim of quantum meruit or
unjust enrichment, a plaintiff must establish (1) the receipt of a benefit by the defendant from the plaintiff and (2) an inequity resulting
to the plaintiff because of the retention of the benefit by the defendant.)
23
     ServiceMaster of St. Cloud v. GAB Business Services, Inc., 544 N.W.2d 302, 306 (Minn.1996) (To establish a claim for unjust
                                                                                                                            alue

24
   Franklin v. Franklin ex rel. Phillips, 858 So.2d 110, 120 (Miss. 2003) (To collect under an unjust enrichment or quasi-contract theory,
a claimant must show there is no legal contract but the person sought to be charged is in possession of money or property which in good
conscience and justice he should not retain, but should deliver to another.)
25
   Miller v. Horn, 254 S.W.3d 920, 924 (Mo. App. 2008) (The elements of unjust enrichment are: (1) that the defendant was enriched
by the receipt of a benefit; (2) that the enrichment was at the expense of the plaintiff; and (3) that it would be unjust to allow the defendant
to retain the benefit.)
26
   Albinger v. Harris
party from benefitting by his wrongful acts, and, as such requires a showing of misconduct or fault to recover.)
27
   Hoffman v. Reinke Mfg. Co., Inc., 416 N.W.2d 216, 219 (Neb. 1987) ( Where benefits have been received and retained under such
circumstances that it would be inequitable and unconscionable to permit party receiving them to avoid payment therefore, law requires
party receiving and retaining benefits to pay their reasonable value. )
28
   Mainor v. Nault, 101 P.3d 308, 317 (Nev. 2004) ( We have said many times that equity does not favor a person being unjustly
enriched. [U]njust enrichment occurs whenever a person has and retains a benefit which in equity and good conscience belongs to

29
     Kowalski v. Cedars of Portsmouth Condominium Ass n, 769 A.2

30
   Castro v. NYT Television, 851 A.2d 88, 95 (N.J. App. Div. 2004) (To establish unjust enrichment as a basis for quasi- contractual
liability, a plaintiff must show both that defendant received a benefit and that retention of the benefit would be unjust.)
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31
   Heimann v. Kinder-Morgan CO2 Co., L.P., 144 P.3d 111, 118 (N.M. App. 2006) (In order to state a claim for unjust enrichment, the
aggrieved party must allege that: (1) another has been knowingly benefited at one's expense (2) in a manner such that allowance of the
other to retain the benefit would be unjust.)
32
   Smith v. Chase Manhattan Bank, USA, 293 A.D.2d 598, 600 (N.Y. App. Div. 2002) (To prevail on a claim of unjust enrichment, a
plaintiff must establish that it conferred a benefit upon the defendant, and that the defendant will obtain that benefit without adequately
compensating the plaintiff therefore.).
33
   Progressive American Ins. Co. v. State Farm Mut. Auto. Ins. Co., 647 S.E.2d 111, 116, (N.C. App. 2007) (Claim for unjust enrichment
requires showing that: (1) party conferred a benefit on the other party; (2) the benefit was not conferred officiously, that is, it was not
conferred by an interference in the affairs of the other party in a manner that was not justified in the circumstances; (3) the benefit was
not gratuitous; (4) the benefit is measurable; and (5) the defendant consciously accepted the benefit.).
34
   McGhee v. Mergenthal, 735 N.W.2d 867, 872 (N.D. 2007) (Five elements must be established to prove unjust enrichment: (1) an
enrichment; (2) an impoverishment; (3) a connection between the enrichment and the impoverishment; (4) absence of a justification for
the enrichment and impoverishment; and (5) an absence of a remedy provided by law.).
35
   Chef Italiano v. Crucible Development Corp., No. 22415, 2005 WL 1963027, at *26, (Ohio App. 2005) (A successful claim of unjust
enrichment requires that: (1) a benefit has been conferred by a plaintiff upon a defendant; (2) the defendant had knowledge of the benefit;
and (3) the defendant retained the benefit under circumstances where it would be unjust to do so without payment.).
36
   Harvell v. Goodyear Tire and Rubber Co.
the failure of a party to make restitution in circumstances where it is inequitable; that is, the party has money in its hands that, in equity
and good conscience, it should not be allowed to retain.).
37
   Winters v. County of Clatsop, 150 P.3d 1104, 1106 (Or. App. 2007) (To establish unjust enrichment, a plaintiff must establish that
(1) the plaintiff conferred a benefit on the defendant; (2) the defendant was aware that it had received a benefit; and (3) under the
circumstances, it would be unjust for the defendant to retain the benefit without paying for it.).
38
   Stoeckinger v. Presidential Financial Corp. of Delaware Valley, 948 A.2d 828, 833 (Pa. Super. 2008) (The elements of unjust
enrichment are (1) benefits conferred on defendant by plaintiff, (2) appreciation of such benefits by defendant, and (3) acceptance and
retention of such benefits under such circumstances that it would be inequitable for defendant to retain the benefit without payment of
value.).
39
  Ellis v. Smith Grading and Paving, Inc.
upon the defendant by the plaintiff; (2) realization of that benefit by the defendant; and (3) retention by defendant of the benefit under
conditions that make it inequitable for him to retain it without paying its value.).
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40
   Hofeldt v. Mehling, 658
enriched party received a benefit, (2) enriched party was aware of receiving benefit, and (3) it is inequitable to allow enriched party to
retain this benefit without paying for it.).
41
   Freeman Industries, LLC v. Eastman Chemical Co., 172 S.W.3d 512, 525 (Tenn. 2005) (The elements of an unjust enrichment claim
are: (1) a benefit conferred upon the defendant by the plaintiff; (2) appreciation by the defendant of such benefit; and (3) acceptance of
such benefit under such circumstances that it would be inequitable for him to retain the benefit without payment of the value thereof.).
42
  Mowbray v. Avery, 76 S.W.3d 663, 678 (Tex. App. 2002) (Doctrine of unjust enrichment can be applied where there is a failure to
make restitution of benefits received under circumstances which give rise to an implied or quasi-contractual obligation to repay, that is,
where a benefit was wrongfully secured or passively received which would be unconscionable for the receiving party to retain.).
43
   Hess v. Johnston
supporting three elements: (1) a benefit conferred on one person by another; (2) an appreciation or knowledge by the conferee of the
benefit; and (3) the acceptance or retention of the benefit under such circumstances as to make it inequitable for the conferee to retain
the benefit without payment of its value. .
44
  Gallipo v. City of Rutland                                                    t applies if in light of the totality of the circumstances,
equity and good conscience demand that the benefitted party return that which was given. .
45
   T&M Elec., Inc. v. ProLogis Trust, Nos. 22011, 22108, 22024, 22104, 2006 WL 1101740 at *2 (Va. Cir.
of quantum meruit are as follows: (1) A benefit conferred on the defendant by the plaintiff, (2) Knowledge on the part of the defendant
of the conferring of the benefit, (3) Acceptance or retention of the benefit by the defendant in circumstances that render it inequitable
                                                                     .
46
   Young v. Young
enrichment: (1) a benefit conferred upon the defendant by the plaintiff; (2) an appreciation or knowledge by the defendant of the benefit;
and (3) the acceptance or retention by the defendant of the benefit under such circumstances as to make it inequitable for the defendant
to retain the benefit without the payment of its value.
47
   Staver v. Milwaukee County
a benefit that has been conferred upon the defendant by the plaintiff, (2) appreciation by the defendant of the benefit, and (3) acceptance
and retention by the defendant of the benefit, under circumstances such that it would be inequitable to retain the benefit without
payment. .
                                                                                                                                              Case 9:21-cv-80826-AMC Document 117 Entered on FLSD Docket 02/20/2023 Page 34 of 34




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